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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 SECURITIES AND EXCHANGE                          §
 COMMISSION,                                      §
                                                  §
                 Plaintiff,                       §
                                                  §
 v.                                               §     CIVIL ACTION NO. 4:11cv655
                                                  §     (Judge Clark/Judge Mazzant)
 JAMES G. TEMME and                               §
 STEWARDSHIP FUND, LP,                            §
                                                  §
                 Defendants.                      §

  ORDER GRANTING RECEIVER’S FIRST INTERIM APPLICATION TO ALLOW AND
   PAY (1) RECEIVER’S FEES AND EXPENSES; AND (2) ATTORNEYS’ FEES AND
                                EXPENSES

        Before the Court is the Receiver’s First Interim Application to Allow and Pay (1)

 Receiver’s Fees and Expenses; and (2) Attorneys’ Fees and Expenses (the “Application”) [Doc.

 #154], which requests reimbursement for fees incurred for the time period from October 28, 2011,

 through February 28, 2012. The Receiver seeks to pay Bryan Cave LLP (“BC”) $46,994.05,

 representing $45,175.25 in interim fees (50% of $90,350.50 in fees) and $1,818.80 in interim

 expenses (50% of $3,637.59 in expenses), with the balance of all such fees and expenses to be

 paid to BC immediately upon receipt of the MCS Settlement Payment (as defined in the

 Application).

        No opposition has been filed to this Application. Counsel for the Commission has

 reviewed the fee application and been afforded the opportunity to object, but does not object to

 the relief sought. Based upon a review of the Application and the pleadings on file, the Court

 finds and concludes that (a) the relief requested in the Application is in the best interests of the

 Receiver and his receivership estates; (b) proper and adequate notice of the Application has been

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 given and that no other or further notice is necessary; and (c) good and sufficient cause exists for

 the granting of the relief requested in the Application after having given due deliberation upon

 the Application and all of the proceedings had before the Court in connection with the

 Application. Therefore, it is hereby ORDERED that:

         i.     The Application is GRANTED.

        ii.     The Court approves, on an interim basis, the fees ($90,350.50) and expenses

 ($3,637.59) incurred by the Receiver from October 28, 2011 through February 28, 2012.

        iii.     The Receiver is authorized to immediately pay BC the total sum of $46,994.05,

 representing $45,175.25 in interim fees (50% of $90,350.50 in fees) and $1,818.80 in interim

 expenses (50% of $3,637.59 in expenses) for the time period from October 28, 2011 through

 February 28, 2012.

        iv.      Immediately upon receipt of the MCS Settlement Payment, the Receiver is

 authorized to pay to BC, without further order of the Court, the sum of $46,994.04, constituting

 the balance of the fees and expenses approved above, with such amounts equaling $45,175.25 in

 fees and $1,818.79 in expenses. If the settlement with MCS is not approved, the balance can be

 distributed after further application and order of this Court.

      So ORDERED and SIGNED this 10 day of December, 2012.




                                                      ___________________________________
                                                      Ron Clark, United States District Judge




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